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Carranza-Reyes v. Park County

Briselda Gomez-Villalobos

 

 

 

 

 

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1 correct? | A. — [remember him telling him [sic] that his
2 A. | remember it was on a Sunday. 2 brother Moises was sick, that he was in the hospital.
3 Q. And do you remember who informed you that 3 Q. What was --
4 you were going to leave the jail? | 4 A. — [remember he was crying, and then I
5 A. Well, the sheriff took me to a place, and ' § started to cry, also.
6 there was a desk, and then he pointed to a telephone, 6 Q. What do you remember in terms of the
7 and I picked it up, and Mr. Pina told me that we were —7_first thing your husband said about Moises to you?
8 going to be released in a couple of hours. 8 A. — He only told me that they had taken him
9 Q. And did Mr. Pina explain to you why you : 9 to the hospital,
10 were being released? 10. Q. And where did he tell you this?
ll A. No. All he said was that they were going 1 A. _ There, I remember, by the entrance. I
12 to take me and my husband to the hospital, that he was | 12 remember it by the entrance.
13 the consul representative, (1300 Q. Of the jail?
14 Q. In that telephone conversation, did Mr. 14 A. Yes.
15 Pina say anything to you about why Moises was inthe 15 Q. Was that shortly before you got in the
16 hospital? 16 car and started traveling to the hospital?
17 A. No. 17 A. Excuse me?
18 QQ. And was it within a few hours that you 18 QQ. — This discussion that you just told me
19 were released from the jail after that phone call? 19 about, did that happen right before you and your
20 A. About two or three hours later. ' 20 husband got into the car which took you to the
21 Q. Then were you taken to the hospital? 21 hospital?
22 A. Yes. 22 A. Yes.
23 = Q. Who took you to the hospital? 23> Q. Okay. Did you have any more discussions
24 A. Aman. He was dressed in green. | 24 with your husband about Moises prior to getting into
25. Q. Like a uniform? 25 the car?
t
74 | 76
1 A. — I don't recall if it was a uniform. I do | A. No. He was crying.
2 believe it was. / 2 Q. — Atsome point did he stop crying?
3 Q. Were you -- did you drive in a car from 3 A, No. He was crying all the time.
4 the jail to the hospital? 4 = Q.  Sohe was ~ was he crying all the way to
5 A. Yes, i 5 the hospital in the car ride?
6 Q. — And you were in the car with your | 6 <A. Yes.
7 husband? | 7 QQ. Did he ever become calm enough to talk to
8 A. Yes. - 8 you about what happened to Moises in the jail?
9 THE DEPONENT: May I please go to the 9 A. Well, no. He was -- no, he wouldn't calm
10 bathroom? 10 down. He was crying, He was crying continuously.
1 MR. MARKS: Yes, sure. Let's take a _ 11 Once we arrived at the hospital -- I don't know if she
12. break, : 12 was a nurse or if she was the physician, and she asked
13 (Break from 3:17 p.m. to 3:27 p.m.) 13. me if I wanted to see my brother-in-law, and I remember
14 MR. MARKS: Can you read back the last 14 I said yes.
15 question and answer? ; 15 Q. Do you need to take a break?
16 (The last question and answer were read /16 A. — Tremember that he was really doing
17 back.) | 17 poorly. I saw him, he looked really bad. He had all
18 Q. (BY MR.MARKS) When was the first point; 18 kinds of hoses. His face was swollen, his entire body
19 that you got reunited with your husband after you first | 19 was swollen. It was awful.
20 came to the jail? 20 = Q. Upto this point, had your husband given
21 ~~ A. ~~ On that Sunday. 21 you any explanation as to what had happened to Moises
22, Q. ~~ Was it before you got in the car? | 22 in the jail?
23. «ALY. :23 A. Notat that time.
24 Q. And when you first got reunited with your 24 Q. After you observed Moises, did you go
25 husband, did he mention what happened to Moises? = 25 back to your husband and ask him if he had -- if he

 

 

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PLAINTIFF'S

EXHIBIT
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